Case 1:25-cv-00385-ABJ   Document 1-1   Filed 02/10/25   Page 1 of 2




            EXHIBIT
            EXHIBT  A
                    A
         Case 1:25-cv-00385-ABJ               Document 1-1   Filed 02/10/25      Page 2 of 2


From:            Gor, Sergio N. EOP/WHO
To:              Dellinger, Hampton
Cc:              Morse, Trent M. EOP/WHO
Subject:         A Notice from the White House
Date:            Friday, February 7, 2025 7:22:59 PM


Good evening Hampton,

On behalf of President Donald J. Trump, I am writing to inform you that your position as Special
Counsel of the US Office of Special Counsel is terminated, effective immediately.

Thank you for your service,

Sergio


--
Sergio Gor
Assistant to the President
Director of Presidential Personnel Office
The White House
